UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 KAREN DELGADO,                                               :
                                              Plaintiff,      :    22 Civ. 7446 (LGS)
                                                              :
                            -against-                         :         ORDER
                                                              :
 419 E. 70TH CAFÉ INC., et al.,                               :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

         WHEREAS, the Order dated September 15, 2022, required the parties to file a proposed

case management plan and joint letter by October 26, 2022. The initial pretrial conference is

currently scheduled for November 2, 2022, at 4:10 p.m.

         WHEREAS, on October 17, 2022, Plaintiff filed a pre-motion letter regarding an

anticipated motion to dismiss Defendant’s counterclaim. On October 24, 2022, Defendants filed

a response.

         WHEREAS, on October 17, 2022, the parties filed the joint letter required by the

September 15, 2022, Order. In this letter, the parties requested a referral to the Southern District

of New York’s mediation program and an adjournment of the November 2, 2022, conference by

sixty days or until the parties complete mediation. The parties have not yet filed a Proposed Civil

Case Management Plan and Scheduling Order, available at the Court’s website

(http://nysd.uscourts.gov/judge/Schofield), as called for by the September 15, 2022 Order. It is

hereby

         ORDERED that, by October 28, 2022, the parties shall file the proposed civil case

management plan. It is further
       ORDERED that the November 2, 2022, conference is ADJOURNED to January 4,

2023, at 4:10 p.m. The conference will be telephonic and will take place on the following

conference line: 888-363-4749; access code 558-3333. The parties shall be prepared to discuss

the anticipated motion to dismiss at this conference.

       A referral for mediation with the Southern District of New York’s mediation program

shall issue separately.

Dated: October 27, 2022
       New York, New York




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